Appellate Case: 22-9578            Document: 010110960198    Date Filed: 11/29/2023   Page: 1
                                                                                      FILED
                                                                          United States Court of Appeals
                           UNITED STATES COURT OF APPEALS                         Tenth Circuit

                                 FOR THE TENTH CIRCUIT                        November 29, 2023
                             _________________________________
                                                                             Christopher M. Wolpert
                                                                                 Clerk of Court
  MAGNETSAFETY.ORG, et al.,

         Petitioners,

  v.                                                            No. 22-9578
                                                         (CPSC No. CPSC 2021-0037)
  CONSUMER PRODUCT SAFETY                           (Consumer Products Safety Commission)
  COMMISSION,

          Respondent.

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  CONSTITUTIONAL
  ACCOUNTABILITY CENTER, et al.,

          Amici Curiae.
                             _________________________________

                                          ORDER
                             _________________________________

        At the direction of the court, this matter is ABATED pending the issuance of a

 decision in Tenth Circuit Appeal No. 22-7060, Leachco, Inc. v. Consumer Product Safety

 Commission. The January 17, 2024 oral argument in this matter is VACATED, and all

 counsel are excused from attendance.


                                                 Entered for the Court,



                                                 CHRISTOPHER M. WOLPERT, Clerk
